    Case 20-30608           Doc 851-7 Filed 10/18/21 Entered 10/18/21 23:57:02                               Desc
                              Appendix Notice of Hearing Page 1 of 3


                            UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

                                                              :
In re:                                                        :           Chapter 11
                                                              :
ALDRICH PUMP LLC, et al., 1                                   :           Case No. 20-30608 (JCW)
                                                              :
                       Debtors.                               :           Jointly Administered
                                                              :

                                            NOTICE OF HEARING

        PLEASE TAKE NOTICE that on October 18, 2021 the Official Committee of Asbestos
Personal Injury Claimants filed a Motion for Substantive Consolidation of Debtors’ Estates with
Certain Nondebtor Affiliates or, Alternatively, to Reallocate Debtors’ Asbestos Liabilities to Those
Affiliates (the "Motion") in this case.

       PLEASE TAKE FURTHER NOTICE that your rights may be affected by the Motion. You
should read the Motion carefully and discuss them with your attorney. If you do not have an
attorney, you may wish to consult with one.

         PLEASE TAKE FURTHER NOTICE that, pursuant to Fed. R. Bankr. P. 9006 and the
Case Management Order, written responses, if any, must be filed on or before November 1, 2021
(the “Response Deadline”), in order to be considered. If you do not want the Court to grant the
relief requested in the Motion, or if you oppose it in any way, you MUST:

         1.       File a formal, written response with the Bankruptcy Court at:

                  Clerk, United States Bankruptcy Court
                  Charles Jonas Federal Building
                  401 West Trade Street
                  Charlotte, North Carolina 28202

         2.       Serve a copy of your response on all parties in interest, including:

                  a)       U.S. Bankruptcy Administrator
                           402 West Trade Street
                           Charlotte, NC 28202

                  b)       HAMILTON STEPHENS STEELE + MARTIN, PLLC
                           Glenn C. Thompson
                           525 North Tryon Street, Suite 1400

1
     The “Debtors” are the following entities (the last four digits of the Debtors’ taxpayer identification number follow
in parentheses): Aldrich Pump LLC (2290) and Murray Boiler (0679). The Debtors’ address is 800 E. Beaty Street,
Davidson, North Carolina 28036.
    Case 20-30608      Doc 851-7 Filed 10/18/21 Entered 10/18/21 23:57:02            Desc
                         Appendix Notice of Hearing Page 2 of 3


                       Charlotte, North Carolina 28202

                  c)   ROBINSON & COLE LLP
                       Natalie D. Ramsey
                       Davis Lee Wright
                       1000 N. West Street, Suite 1200
                       Wilmington, Delaware 19801

                  d)   CAPLIN & DRYSDALE, CHARTERED
                       Kevin C. Maclay
                       Todd E. Phillips
                       Jeffrey A. Liesemer
                       One Thomas Circle NW, Suite 1100
                       Washington, DC 20005

                  e)   WINSTON & STRAWN LLP
                       David Neier
                       Carrie V. Hardman
                       200 Park Avenue
                       New York, NY 10166

       PLEASE TAKE FURTHER NOTICE that a status hearing on the Motion will be held on
November 17, 2021 at 1:00 p.m. (ET) before the Honorable J. Craig Whitley at the United States
Bankruptcy Court, Charles Jonas Federal Building, Courtroom 2B, 401 West Trade Street,
Charlotte, North Carolina 28202.

       PLEASE TAKE FURTHER NOTICE that, if you or your attorney do not take these steps,
the Court may decide that you do not oppose the relief sought in the Motion and may enter an
Order granting the relief requested. No further notice of the hearing will be given.

                           [Signatures appear on the following page]




                                               2
4817-3989-0175, v. 1
    Case 20-30608      Doc 851-7 Filed 10/18/21 Entered 10/18/21 23:57:02                Desc
                         Appendix Notice of Hearing Page 3 of 3


Dated: October 18, 2021
       Charlotte, North Carolina

 HAMILTON STEPHENS STEELE
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 Asbestos Personal Injury Claimants

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 Special Litigation Counsel to the Official
 Committee of Asbestos Personal Injury
 Claimants




                                                 3
4817-3989-0175, v. 1
